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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


JONTELE GOODWIN,

       Plaintiff,
                                                      Case No. 2:22-cv-228
v.
                                                      Hon. Hala Y. Jarbou
UNKNOWN DOUGLASS, et al.,

      Defendants.
___________________________________/

                                                  ORDER

       For the reasons stated in the opinion entered concurrently with this Order:

       IT IS ORDERED that the report and recommendation (ECF No. 64) is APPROVED IN

PART and REJECTED IN PART as the opinion of the Court.

       IT IS FURTHER ORDERED that Defendants’ motion for summary judgment (ECF

No. 44) is GRANTED IN PART and DENIED IN PART.

       IT IS FURTHER ORDERED that Defendants’ motion to strike Plaintiff’s surreply to

their motion for summary judgment (ECF No. 61) is GRANTED, and the Clerk of Court is

directed to strike the surreply (ECF No. 60).

       IT IS FURTHER ORDERED that Plaintiff’s motion for partial summary judgment (ECF

No. 49) and his motion for preliminary injunctive relief (ECF No. 47) are DENIED.

       Plaintiff’s retaliation claim against Defendants Austin Douglass and Keith Clegg remains

pending. The following facts are not in genuine dispute: First, Clegg retrieved an item out of a

trash bin and later carried that item into the cafeteria. Second, the item Clegg retrieved and carried

was a bag of orange juice. Third, Plaintiff is the person recorded in Exhibits I and J to Defendants’
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summary judgment motion (ECF Nos. 45-10, 45-11) exiting the prison mess hall and subsequently

being subjected to a pat-down search. The Court does not reach a determination on the other issues

raised in Defendants’ objections, such as whether Plaintiff’s affiant Anthony Roberts would have

been able to observe Plaintiff’s conduct near the prison canteen door, and it expresses no opinion

on the core question of whether Plaintiff in fact carried a bag of juice out of the canteen. Those

matters are reserved for adjudication by the trier of fact.



 Dated: February 21, 2025                             /s/ Hala Y. Jarbou
                                                      HALA Y. JARBOU
                                                      CHIEF UNITED STATES DISTRICT JUDGE




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